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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


CAREY D. EBERT                                  §
                                                §
         Plaintiff,                             §
                                                §
v.                                              §       Civil Action No.: 4:15-cv-225-0
                                                §
HOWARD MILLER APPEL, et al.,                    §
                                                §
         Defendants                             §


                                        FINAL JUDGMENT

         Plaintiff, Carey D. Ebert (“Carey Ebert”), as Trustee for the Chapter 11 estate of the Debtor,

Latitude Solutions, Inc. (“LSI”), sued Defendants Howard Appel, Ernest Bartlett, Matthew Cohen,

and John Paul DeJoria (collectively “Defendants”), for, inter alia, breach of fiduciary duty and

aiding and abetting breach of fiduciary duty. The case was tried to a jury, and after hearing several

days of testimony and argument, the jury returned a unanimous verdict of favor of the Trustee and

against Defendants. Having considered the jury’s verdict, the evidence presented at trial, and the

applicable law, the Court renders judgment pursuant to Federal Rule of Civil Procedure 58 as

follows:

         1.     IT IS HEREBY ORDERED that Defendant John Paul DeJoria is liable to Plaintiff

Carey Ebert for breach of fiduciary duty.

         2.     IT IS FURTHER ORDERED that Defendant Matthew Cohen is liable to Plaintiff

Carey Ebert for breach of fiduciary duty.




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       3.      IT IS FURTHER ORDERED that Defendants Howard Appel, Ernest Bartlett,

and John Paul DeJoria are each liable to Plaintiff Carey Ebert for aiding and abetting Matthew

Cohen’s breach of fiduciary duty.

       4.      IT IS FURTHER ORDERED that Defendants Matthew Cohen, Howard Appel,

Ernest Bartlett, and John Paul DeJoria are liable to Plaintiff Carey Ebert, jointly and severally, for

compensatory damages in the amount of $6,900,000.00.

       5.      IT IS FURTHER ORDERED that Defendant John Paul DeJoria is liable to

Plaintiff Carey Ebert for compensatory damages in the amount of $1,500,000.00.

       6.      IT IS FURTHER ORDERED that Defendant Howard Appel is liable to Plaintiff

Carey Ebert for compensatory damages in the amount of $2,500,000.00.

       7.      IT IS FURTHER ORDERED that Defendant Ernest Bartlett is liable to Plaintiff

Carey Ebert for compensatory damages in the amount of $2,500,000.00.

       8.      IT IS FURTHER ORDERED that Defendant Howard Appel is liable to Plaintiff

Carey Ebert for exemplary damages in the amount of $5,000,000.00.

       9.      IT IS FURTHER ORDERED that Defendant Matthew Cohen is liable to Plaintiff

Carey Ebert for exemplary damages in the amount of $2,000,000.00.

       10.     IT IS FURTHER ORDERED that Defendant John Paul DeJoria is liable to

Plaintiff Carey Ebert for exemplary damages in the amount of $1,000,000.00.

       11.     IT IS FURTHER ORDERED that court costs are taxed in favor of Plaintiff Carey

Ebert and against all Defendants, in an amount to be determined pursuant to Local Civil Rule 54.1

and applicable law.

       12.     IT IS FURTHER ORDERED that all amounts awarded in this Judgment shall

bear post-judgment interest at the rate provided for pursuant to 28 U.S.C. §1961, compounded

annually, from the date of judgment until paid.


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    SO ORDERED on this 7th day of March, 2018.



                                 _____________________________________
                                 Reed O’Connor
                                 UNITED STATES DISTRICT JUDGE




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